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14
15                       UNITED STATES DISTRICT COURT
16          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
17
18 Netflix Studios, LLC; Amazon Content     Case No.
   Services, LLC; Columbia Pictures
19 Industries, Inc.; Disney Enterprises,
   Inc.; Paramount Pictures Corporation;    COMPLAINT
20 Twentieth Century Fox Film
   Corporation; Universal City Studios      DEMAND FOR JURY TRIAL
21 Productions LLLP; Warner Bros.
   Entertainment Inc.
22
                 Plaintiffs,
23
          vs.
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   Dragon Media Inc. d/b/a Dragon Box;
25 Paul Christoforo; Jeff Williams.
26               Defendants.
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28

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  1        Plaintiffs Netflix Studios, LLC (“Netflix”), Amazon Content Services, LLC
  2 (“Amazon”), Columbia Pictures Industries, Inc. (“Columbia”), Disney Enterprises,
  3 Inc. (“Disney”), Paramount Pictures Corporation (“Paramount”), Twentieth Century
  4 Fox Film Corporation (“Fox”), Universal City Studios Productions LLLP
  5 (“Universal”), and Warner Bros. Entertainment Inc. (“Warner Bros.”) (collectively,
  6 “Plaintiffs”) bring this Complaint against Dragon Media Inc. d/b/a Dragon Box,
  7 Paul Christoforo, and Jeff Williams (Christoforo and Williams are referred to
  8 collectively as the “Individual Defendants,” and the Individual Defendants and
  9 Dragon Media Inc. are referred to collectively as “Defendants”) under the Copyright
10 Act (17 U.S.C. § 101 et seq.). This Court has subject matter jurisdiction pursuant to
11 28 U.S.C. §§ 1331, 1338(a), and 17 U.S.C. § 501(b). Plaintiffs allege, on personal
12 knowledge as to themselves and information and belief as to others, as follows:
13                                  INTRODUCTION
14         1.    Defendants market and sell “Dragon Box,” a computer hardware device
15 that Defendants urge their customers to use as a tool for the mass infringement of
16 the copyrighted motion pictures and television shows Plaintiffs own or have the
17 exclusive right(s) to reproduce, distribute, and/or publicly perform (“Copyrighted
18 Works”). Defendants tell customers to “Watch your Favourites Anytime For
19 FREE,” “Watch virtually every movie, Most in High Definition, TV Shows and
20 Sports … and much more.” And Defendants promote the device as the means to
21 “cut your cable & save money,” and encourage customers to “Get rid of your
22 Premium Channels… [and] Stop paying for Netflix and Hulu.”
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20        2.     Defendants sell illegal access to Plaintiffs’ Copyrighted Works. It
21 works like this: Defendants distribute and promote the Dragon Box device, the
22 black box displayed in the bottom left-hand side of Defendants’ ad shown above.
23 Dragon Box uses software to link its customers to infringing content on the Internet.
24 When used as Defendants intend and instruct, Dragon Box gives Defendants’
25 customers access to multiple sources that stream Plaintiffs’ Copyrighted Works
26 without authorization. These streams are illegal public performances of Plaintiffs’
27 Copyrighted Works.
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  1        3.     For the customers who use Dragon Box, the device provides the
  2 hallmarks of using authorized streaming services—a user-friendly interface and
  3 reliable access to popular content—with one notable exception: the customers only
  4 pay money to Defendants, not to Plaintiffs and other content creators upon whose
  5 copyrighted works Defendants’ business depends. Plaintiffs bring this action to stop
  6 Defendants’ intentional inducement of, and knowing and material contribution to,
  7 the widespread infringement of Plaintiffs’ rights.
  8                                      THE PARTIES
  9        4.     Plaintiff Netflix Studios, LLC is a corporation duly incorporated under
10 the laws of the State of Delaware with its principal place of business in Los Gatos,
11 California. Netflix owns or controls the copyrights or exclusive rights in the content
12 that it or its affiliates produce or distribute.
13         5.     Plaintiff Amazon Content Services, LLC is a corporation duly
14 incorporated under the laws of the State of Delaware with its principal place of
15 business in Seattle, Washington. Amazon owns or controls the copyrights or
16 exclusive rights in the content that it or its affiliates produce or distribute.
17         6.     Plaintiff Columbia Pictures Industries, Inc. is a corporation duly
18 incorporated under the laws of the State of Delaware with its principal place of
19 business in Culver City, California. Columbia owns or controls the copyrights or
20 exclusive rights in the content that it or its affiliates produce or distribute.
21         7.     Plaintiff Disney Enterprises, Inc. is a corporation duly incorporated
22 under the laws of the State of Delaware with its principal place of business in
23 Burbank, California. Disney owns or controls the copyrights or exclusive rights in
24 the content that it or its affiliates produce or distribute.
25         8.     Plaintiff Paramount Pictures Corporation is a corporation duly
26 incorporated under the laws of the State of Delaware with its principal place of
27 business in Los Angeles, California. Paramount owns or controls the copyrights or
28 exclusive rights in the content that it or its affiliates produce or distribute.

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  1         9.     Plaintiff Twentieth Century Fox Film Corporation is a corporation duly
  2 incorporated under the laws of the State of Delaware with its principal place of
  3 business in Los Angeles, California. Fox owns or controls the copyrights or
  4 exclusive rights in the content that it or its affiliates produce or distribute.
  5         10.    Plaintiff Universal City Studios Productions LLLP is a limited liability
  6 limited partnership duly organized under the laws of the State of Delaware with its
  7 principal place of business in Universal City, California. Universal owns or controls
  8 the copyrights or exclusive rights in the content that it or its affiliates produce or
  9 distribute.
10          11.    Plaintiff Warner Bros. Entertainment Inc. is a corporation duly
11 incorporated under the laws of the State of Delaware with its principal place of
12 business in Burbank, California. Warner Bros. owns or controls the copyrights or
13 exclusive rights in the content that it or its affiliates produce or distribute.
14          12.    Plaintiffs have obtained Certificates of Copyright Registration for their
15 Copyrighted Works. Exhibit A contains a representative list of titles, along with
16 their registration numbers, of which Defendants have contributed to and induced
17 infringement and continue to contribute to and induce infringement.
18          13.    Defendant Dragon Media Inc. is a corporation duly incorporated under
19 the laws of the State of California with its principal place of business at 2740
20 Circulo Santiago, Carlsbad, CA 92008. Defendant Dragon Media Inc. does business
21 under the name Dragon Box and operates an interactive website available at
22 https://www.thedragonbox.com.
23          14.    Defendant Paul Christoforo is the president, owner, and operator of
24 Dragon Media Inc. Christoforo is a resident of Carlsbad, California.
25          15.    Defendant Jeff Williams is an official reseller and authorized
26 distributor of Dragon Box devices and an affiliate of Dragon Media Inc. Williams is
27 a resident of Larkspur, California. Williams operates an interactive website known
28 as “West Coast Dragon Box, available at http://www.westcoastdragonbox.com.

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  1                           JURISDICTION AND VENUE
  2        16.   This Court has subject matter jurisdiction over this Complaint pursuant
  3 to 28 U.S.C. §§ 1331, 1338(a), and 17 U.S.C. § 501(b).
  4        17.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b),
  5 1400(a).
  6                               FACTUAL OVERVIEW
  7 Plaintiffs and Their Copyrighted Works
  8        18.   Plaintiffs or their affiliates produce and distribute some of the most
  9 popular and critically acclaimed motion pictures and television shows in the world.
10         19.   Plaintiffs or their affiliates have invested (and continue to invest)
11 substantial resources and effort each year to develop, produce, distribute, and
12 publicly perform their Copyrighted Works.
13         20.   Plaintiffs or their affiliates own or have the exclusive U.S. rights
14 (among others) to reproduce, distribute, and publicly perform Plaintiffs’
15 Copyrighted Works, including by means of streaming those works over the Internet
16 to the public.
17         21.   Plaintiffs authorize the distribution and public performance of their
18 Copyrighted Works in various formats and through multiple distribution channels,
19 including, by way of example: (a) for exhibition in theaters; (b) through cable and
20 direct-to-home satellite services (including basic, premium, and “pay-per-view”);
21 (c) through authorized, licensed Internet video-on-demand services, including those
22 operated by iTunes, Google Play, Hulu, VUDU, Netflix, Inc. and Amazon.com,
23 Inc.; (d) for private home viewing on DVDs and Blu-ray discs; and (e) for broadcast
24 on television.
25         22.   Plaintiffs have not authorized Defendants, the operators of the third-
26 party sites to which Dragon Box links, or Defendants’ customers, to exercise any of
27 Plaintiffs’ exclusive rights under the Copyright Act, 17 U.S.C. § 106.
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  1 Defendants’ Inducement of and Contribution to the Infringement of Plaintiffs’
    Copyrighted Works
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  3      The Dragon Box Experience
  4        23.   As advertised, Dragon Box is easy for customers to install and operate.
  5 Customers need only connect Dragon Box to the Internet and a screen (e.g.,
  6 computer monitor or television) to operate. Defendants’ marketing materials
  7 describe the “QUICK & EASY INSTALL!” and explain to customers that “all you
  8 need is an Internet connection and HDTV”:
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21         24.   Defendants market Dragon Box as a device that gives their customers
22 direct access to “Free pay per view. Free movies still in theaters in HD and 3D.
23 Sports Packages, [and] Kids content.” Defendants boast that “All content is free”1
24 for Dragon Box customers.
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26    1
    The Dragon Box (April 9, 2014),
27 https://www.facebook.com/TheDragonBox/photos/a.443840675745196.107374182
   8.440184166110847/491300964332500/?type=3&theater.
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  1        25.   The Dragon Box device primarily utilizes two types of software
  2 programs. The first is a software media player called “Kodi.” Kodi is a third-party
  3 “open source” media player, meaning that it operates with many different programs
  4 and file formats. Kodi is recognized as the most popular media player for
  5 supporting the second type of software program Dragon Box relies on: “addons.”
  6 An addon is a software program that runs in conjunction with an underlying
  7 software program (like Kodi) to provide functionality over and above the
  8 functionality that the underlying software provides.
  9        26.   The Dragon Box device allows Defendants’ customers to access
10 “unlimited” “free” content through the use of the “Dragon Media” software
11 application. The Dragon Media application provides Defendants’ customers with a
12 customized configuration of the Kodi media player and a curated selection of the
13 most popular addons for accessing infringing content. These addons are designed
14 and maintained for the overarching purpose of scouring the Internet for illegal
15 sources of copyrighted content and returning links to that content. When Dragon
16 Box customers click those links, those customers receive unauthorized streams of
17 popular motion pictures and television shows.
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                                          COMPLAINT
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  1        27.   From the customer’s perspective, Dragon Box works as follows. First,
  2 the customer boots up a newly delivered Dragon Box unit. As depicted below,
  3 Dragon Box presents the customer with a menu that includes the “DRAGON
  4 MEDIA” software application:
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15 When a customer selects “DRAGON MEDIA” for the first time, the device prompts
16 the customer to download the “DragonBox” software. After clicking through the
17 guided “Media Setup,” the device downloads and installs the latest version of
18 Dragon Media:
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                                         COMPLAINT
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   1        28.   Once the Dragon Media software application has been downloaded and
   2 installed onto the Dragon Box device, the customer is presented a multi-page home
   3 screen that presents the customer with categories to select. These categories include
   4 “Sports,” “4Kids,” “Videos,” “IPTV,” and “TV Shows,” among others. The
   5 screenshot below shows the “4Kids” portion of this multi-page home screen. The
   6 buttons below the “4Kids” title are links to popular addons for accessing infringing
   7 content for children, including “WatchCartonsOnline,” “Tykes,” and “Nemesis
   8 Kids,” among others:
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  22        29.   In total, Defendants provide customers with over 80 addons as part of
  23 their suite of Dragon Media addons to access all of the “Unlimited Shows, Movies,
  24 [and] Live Sporting events.”
  25        30.   Defendants’ customers use Dragon Box for intended and
  26 unquestionably infringing purposes, most notably to obtain immediate, unrestricted,
  27 and unauthorized access to unauthorized streams of Plaintiffs’ Copyrighted Works.
  28

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   1         31.   Covenant is a very popular addon for accessing infringing content. It is
   2 one of the suite of addons that Dragon Box includes with the download and
   3 installation of the Dragon Media software application. As depicted in the screenshot
   4 below (in the red circle), the Dragon Media software application features Covenant
   5 with a preinstalled shortcut on the main Dragon Box menu for “Videos”:
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             32.   The customer opens Covenant by clicking the shortcut button on the
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       Dragon Box home menu. Once opened, the customer sees the following welcome
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       screen, which features 15 different categories and search options. These curated
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       categories include selections of obviously popular and copyrighted content, such as
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       “Box Office,” “In Theaters,” and “New Movies”:
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                                            COMPLAINT
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             33.   A Dragon Box customer who selected the “In Theaters” category on
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       December 19, 2017, would have viewed 51 curated results (as circled), the first page
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       of which is depicted below:
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                                            COMPLAINT
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   1         34.   Disney’s Coco, one of the titles returned by selecting the “In Theaters”
   2 category, was released to theaters on November 22, 2017. As of December 19,
   3 2017, Coco was not authorized for in-home viewing via video-on-demand
   4 distribution, as its distribution was still limited exclusively to theaters. As of
   5 December 19, 2017, several other of the above-listed titles were also not authorized
   6 for video-on-demand distribution, as they were still being distributed exclusively to
   7 theaters.
   8         35.   Once the customer selects a particular title to stream, he or she has
   9 access to dozens of links to sources of unauthorized content. For example, the
  10 screenshot below shows the 100 results for Coco:
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  24 As the result of just one search, the customer would have had access to at least 100
  25 different unauthorized sources for streaming Coco, less than a month after the title’s
  26 release to theaters.
  27        36. The customer also has access to information about the sources of the

  28 unauthorized content, including whether the source streams content in high-

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   1 definition or standard-definition resolution. As depicted above, certain sources
   2 indicate that they are “720P,” a high-definition resolution.
   3        37.    As depicted in the screenshot below, when the customer selects a
   4 source for Coco, Dragon Box presents a user-friendly interface with buttons to fast-
   5 forward, rewind, play, pause, stop, and turn on closed-captioning, among others.
   6 With just a few clicks, the customer can access an infringing stream of a motion
   7 picture that can be seen legally only in theatres:
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                                            COMPLAINT
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   1        Defendants Intentionally Induce Mass Infringement of Plaintiffs’
            Copyrighted Works
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   3        38.    Defendants promote the use of Dragon Box for overwhelmingly, if not
   4 exclusively, infringing purposes, and that is how their customers use Dragon Box.
   5       39. Defendants advertise Dragon Box as a substitute for authorized and
   6 legitimate distribution channels such as cable television or video-on-demand
   7 services like Amazon Prime and Netflix. Defendants blatantly tell prospective
   8 customers to “Get rid of your Premium Channels… [and] Stop paying for Netflix
               2
   9 and Hulu,” because Dragon Box offers customers the ability to stream “ANY TV
  10 SHOW, MOVIE, SPORTING EVENT …. AND NOT HAVE A MONTHLY
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  11 BILL.” Defendants actively target authorized distribution channels like Netflix and
  12 encourage customers to “[s]top paying a monthly subscription and stream whatever
  13 you want, [when]ever you want.” Defendants market Dragon Box as a way to “cut
  14 the cord and start saving $$$!!!!” “Watch the shows you want! When you want!”
  15 and do so with “NO CONTRACTS” “NO MONTHLY BILLS” and “NO
  16 COMMERCIALS.” Defendants inform potential customers that once they purchase
  17 Dragon Box, all of the content they stream is “All for FREE” and customers can
  18 “get setup in less than five minutes.”
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  24   The Dragon Box (Sept. 27, 2014),
     https://www.facebook.com/TheDragonBox/photos/a.443840675745196.107374182
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     8.440184166110847/585014294961166/?type=3&theater
  26 3 The Dragon Box (Sept. 18, 2014),
  27 https://www.facebook.com/TheDragonBox/photos/a.443840675745196.107374182
     8.440184166110847/579048178891111/?type=3&theater
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   1             40.   Defendants urge Dragon Box customers to stream infringing content.
   2 Defendants’ promotional materials inform customers that “[y]ou get Free pay per
   3 view. Free movies still in theaters in HD and 3D. Sports Packages, Kids content &
   4 All content is free.” Defendants tell Dragon Box customers that they can “Watch
   5 What You Want When You Want With Dragon Box and Save $$” and access “Free
   6 Movies (In Theater)” “Free TV Shows commercial free from season one” and “so
   7 much more content”:
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  17             41.   Defendant Williams tells customers on his West Coast Dragon Box

  18 website that customers can “WATCH MOVIES AT HOME THAT ARE STILL IN
  19 THEATRES!” and that the “movie selection is unlimited, if you’re looking for a
                                                       4
  20 classic or even movies currently in the theater!”   Williams promises “FREE
                                                                              5
  21 ACCESS     TO MOVIES,   TV  SHOWS,      LIVE  SPORTS     … AND  MORE.”

  22             42.   Defendants also use their Facebook pages to announce software

  23 updates and advertise the availability of infringing content that is not yet available
  24 outside of theaters. For example, Defendant Christoforo, on the Dragon Box
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       4
  26    West Coast Dragon Box, http://www.westcoastdragonbox.com (last visited Jan. 9,
       2018).
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           Id.
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                                              COMPLAINT
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   1 Facebook page, announced to Dragon Box customers on June 8, 2016 that
   2 Universal’s Warcraft was available to stream, though it was “Not Even in Theaters
   3 Yet!!!” In that same post, Christoforo boasted that “Dragon Box [is] always
   4 bringing you the latest and greatest blockbusters.”6 Warcraft was not released to
   5 theaters until June 10, 2016, and not authorized for on-demand streaming until
   6 September 13, 2016.
   7        43.    Defendants promote Dragon Media Inc.’s regular updates to the
   8 Dragon Media software application. These updates include changes to the addons
   9 that the Dragon Media application features. Dragon Media Inc. frequently adds the
  10 most popular and up-to-date addons to the Dragon Media application and makes
  11 custom “tweaks” to ensure that Dragon Box customers will enjoy uninterrupted
  12 access to the most popular and up-to-date addons to obtain access to infringing
  13 streams any time. As Defendant Christoforo explained on the Dragon Box
  14 Facebook page: “Our programmers are top notch when it comes to KODI and
  15 Firmware and the Dragon Box.” 7 Defendant Dragon Media Inc. regularly releases
  16 updates and “tweaks,” and released one such update, for example, on October 17,
  17 2017. 8
  18        44.    Dragon Media Inc. also provides Dragon Box customers with access to
  19 “premium” addons. For example, Dragon Media Inc. issues every Dragon Box
  20 customer a user login and password to access “Area-51 IPTV.” Using the Area-51
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  23   The Dragon Box (June 8, 2016),
  24 https://www.facebook.com/TheDragonBox/photos/a.443840675745196.107374182
     8.440184166110847/894715507324375/?type=3&theater.
  25 7
       The Dragon Box (July 19, 2015),
  26 https://www.facebook.com/TheDragonBox/posts/732750850187509.
       8
  27    The Dragon Box (October 17, 2017),
       https://www.facebook.com/TheDragonBox/posts/1338310729631515.
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   1 IPTV addon, Dragon Box customers can stream live television channels, including
   2 premium cable television networks and sports networks.
   3              45.   The commercial value of Defendants’ Dragon Box business depends on
   4 high-volume use of unauthorized content through the Dragon Box devices.
   5 Defendants promise their customers reliable and convenient access to all the content
   6 they can stream and customers purchase Dragon Box devices based on Defendants’
   7 apparent success in delivering infringing content to their customers. Dragon Media
   8 Inc. and Christoforo solicit individuals like Williams to serve as authorized
   9 distributors and resellers of Dragon Box devices by highlighting the increasing
  10 popularity of Dragon Box devices and millions of dollars in sales.
  11              46.   As recently as December 30, 2017, Christoforo exclaimed “New
  12 Dragon Box Resellers Wanted NOW!” explaining that Dragon Box has “over
  13 250,000 customers in 50 states and 4 countries and growing” and has “374 sellers
  14 across the world.”9 Christoforo explains that Dragon Box will “handle all of the
  15 marketing materials … do all of the training and personal mentoring as well as the
  16 tech support, warranty, customer service, and keeping the product up to date with
  17 the latest firmware and software.”10
  18              47.   Defendants’ revenues grow based on increase in demand for the
  19 Dragon Box devices. The demand for Dragon Box is driven by Defendants’
  20 promise of free access to infringing content. These promises depend on and form an
  21 integral part of an ecosystem built on the mass infringement of Plaintiffs’
  22 Copyrighted Works.
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  26    The Dragon Box (Dec. 30, 2017),
       https://www.facebook.com/TheDragonBox/posts/1404082249721029.
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            Id.
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   1                             FIRST CAUSE OF ACTION
   2    (Intentionally Inducing the Infringement of Plaintiffs’ Copyrighted Works,
   3                                    17 U.S.C. § 106)
   4         48.   Plaintiffs incorporate herein by reference each and every averment
   5 contained in paragraphs 1 through 47 inclusive.
   6         49.   Defendants have actual knowledge of third parties’ infringement of
   7 Plaintiffs’ exclusive rights under the Copyright Act.
   8         50.   Defendants intentionally induce the infringement of Plaintiffs’
   9 exclusive rights under the Copyright Act, including infringement of Plaintiffs’
  10 exclusive right to publicly perform their Copyrighted Works. As intended and
  11 encouraged by Defendants, the Dragon Box device connects customers to
  12 unauthorized online sources that stream Plaintiffs’ Copyrighted Works. The
  13 operators of these source repositories directly infringe Plaintiffs’ public performance
  14 rights by providing unauthorized streams of the works to the public, including to
  15 Dragon Box customers. These operators, or others operating in concert with them,
  16 control the facilities and equipment used to store and stream the content, and they
  17 actively and directly cause the content to be streamed when Dragon Box customers
  18 click on a link for the content.
  19         51.   Defendants induce the aforementioned acts of infringement by
  20 supplying the physical devices that facilitate, enable, and create direct links between
  21 Dragon Box customers and the infringing operators of the streaming services, and
  22 by actively inducing, encouraging and promoting the use of their devices for blatant
  23 copyright infringement.
  24         52.   Defendants’ intentional inducement of the infringement of Plaintiffs’
  25 rights in each of their Copyrighted Works constitutes a separate and distinct act of
  26 infringement.
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   1         53.   Defendants’ inducement of the infringement of Plaintiffs’ Copyrighted
   2 Works is willful, intentional, and purposeful, and in disregard of and with
   3 indifference to the rights of Plaintiffs.
   4         54.   As a direct and proximate result of the infringement that Defendants
   5 intentionally induce, Plaintiffs are entitled to damages and Defendants’ profits in
   6 amounts to be proven at trial.
   7         55.   Alternatively, at their election, Plaintiffs are entitled to statutory
   8 damages, up to the maximum amount of $150,000 per work infringed by virtue of
   9 Defendants’ willful inducement of infringement, or for such other amounts as may
  10 be proper under 17 U.S.C. § 504.
  11         56.   Plaintiffs further are entitled to recover their attorneys’ fees and full
  12 costs pursuant to 17 U.S.C. § 505.
  13         57.   As a direct and proximate result of the foregoing acts and conduct,
  14 Plaintiffs have sustained and will continue to sustain substantial, immediate and
  15 irreparable injury, for which there is no adequate remedy at law. Unless enjoined
  16 and restrained by this Court, Defendants will continue to induce infringement of
  17 Plaintiffs’ rights in their Copyrighted Works. Plaintiffs are entitled to injunctive
  18 relief under 17 U.S.C. § 502.
  19                            SECOND CAUSE OF ACTION
  20        (Contributory Copyright Infringement by Knowingly and Materially
  21         Contributing to the Infringement of Plaintiffs’ Copyrighted Works,
  22                                     17 U.S.C. § 106)
  23         58.   Plaintiffs incorporate herein by reference each and every averment
  24 contained in paragraphs 1 through 47 inclusive.
  25         59.   Defendants have actual or constructive knowledge of third parties’
  26 infringement of Plaintiffs’ exclusive rights under the Copyright Act. Defendants
  27 knowingly and materially contribute to such infringing activity.
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   1         60.   Defendants knowingly and materially contribute to the infringement of
   2 Plaintiffs’ exclusive rights under the Copyright Act, including infringement of
   3 Plaintiffs’ exclusive right to publicly perform their works. Defendants design and
   4 promote the use of the Dragon Box device to connect customers to unauthorized
   5 online sources that stream Plaintiffs’ Copyrighted Works. The operators of these
   6 source repositories directly infringe Plaintiffs’ public performance rights by
   7 providing unauthorized streams of the works to the public, including to Dragon Box
   8 customers. The operators, or others operating in concert with them, control the
   9 facilities and equipment used to store and stream the content, and they actively and
  10 directly cause the content to be streamed when Dragon Box customers click on a
  11 link for the content.
  12         61.   Defendants knowingly and materially contribute to the aforementioned
  13 acts of infringement by supplying the physical devices that facilitate, encourage,
  14 enable, and create direct links between Dragon Box customers and infringing
  15 operators of the streaming services, and by actively encouraging, promoting, and
  16 contributing to the use of their devices for blatant copyright infringement.
  17         62.   Defendants’ knowing and material contribution to the infringement of
  18 Plaintiffs’ rights in each of their Copyrighted Works constitutes a separate and
  19 distinct act of infringement.
  20         63.   Defendants’ knowing and material contribution to the infringement of
  21 Plaintiffs’ Copyrighted Works is willful, intentional, and purposeful, and in
  22 disregard of and with indifference to the rights of Plaintiffs.
  23         64.   As a direct and proximate result of the infringement to which
  24 Defendants knowingly and materially contribute, Plaintiffs are entitled to damages
  25 and Defendants’ profits in amounts to be proven at trial.
  26         65.   Alternatively, at their election, Plaintiffs are entitled to statutory
  27 damages, up to the maximum amount of $150,000 per work infringed by virtue of
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   1 Defendants’ willful, knowing, and material contribution to infringement, or for such
   2 other amounts as may be proper under 17 U.S.C. § 504.
   3         66.   Plaintiffs further are entitled to recover their attorneys’ fees and full
   4 costs pursuant to 17 U.S.C. § 505.
   5         67.   As a direct and proximate result of the foregoing acts and conduct,
   6 Plaintiffs have sustained and will continue to sustain substantial, immediate and
   7 irreparable injury, for which there is no adequate remedy at law. Unless enjoined
   8 and restrained by this Court, Defendants will continue to knowingly and materially
   9 contribute to the infringement of Plaintiffs’ rights in their Copyrighted Works.
  10 Plaintiffs are entitled to injunctive relief under 17 U.S.C. § 502.
  11                                PRAYER FOR RELIEF
  12         WHEREFORE, Plaintiffs pray for judgment against Defendants and for the
  13 following relief:
  14         1.    For Plaintiffs’ damages and Defendants’ profits in such amount as may
  15 be found; alternatively, at Plaintiffs’ election, for maximum statutory damages; or
  16 for such other amounts as may be proper pursuant to 17 U.S.C. § 504(c).
  17         2.    For preliminary and permanent injunctions (a) enjoining Dragon Media
  18 Inc., the Individual Defendants, and their officers, agents, servants, employees,
  19 attorneys, and all persons acting in active concert or participation with them, from
  20 publicly performing or otherwise infringing in any manner (including without
  21 limitation by materially contributing to or intentionally inducing the infringement
  22 of) any right under copyright in any of Plaintiffs’ Copyrighted Works, including
  23 without limitation by publicly performing those works, or by distributing any
  24 software or providing any service or device that does or facilitates any of the
  25 foregoing acts; and (b) impounding all Dragon Box devices in Defendants’
  26 possession, custody, or control, and any and all documents or other records in
  27 Defendants’ possession, custody, or control relating to Defendants’ contribution to
  28 and inducement of the infringement of Plaintiffs’ Copyrighted Works.

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   1        3.    For prejudgment interest according to law.
   2        4.    For Plaintiffs’ attorneys’ fees and full costs incurred in this action
   3 pursuant to 17 U.S.C. § 505.
   4        5.    For all such further and additional relief, in law or in equity, to which
   5 Plaintiffs may be entitled or which the Court deems just and proper.
   6                            DEMAND FOR JURY TRIAL
   7        Plaintiffs demand a trial by jury on all issues triable by jury.
   8
   9 DATED: January 10, 2018               MUNGER, TOLLES & OLSON LLP
  10
  11                                       By: /s/ Kelly M. Klaus
  12                                           KELLY M. KLAUS
                                           Attorneys for Plaintiffs
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        EXHIBIT A
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                      Netflix Studios, LLC et al. v. Dragon Media Inc. et al
                                 Representative List of Works

                                                             Registration
  Title                     Copyright Registrants                              Registration Date
                                                             Number
  The OA, Season 1,
                            Netflix Studios, LLC             PA2-029-045               1/18/2017
  Episode 1
  Santa Clarita Diet,
                             Netflix Studios, LLC            PA2-028-853                2/3/2017
  Season 1, Episode 1
  Stranger Things, Season
                             Netflix Studios, LLC            PA2-009-946               9/26/2016
  1, Episode 8
  Wet Hot American
  Summer: First Day of
                            Netflix Studios, LLC             PA1-996-639               4/19/2016
  Camp, Season 1,
  Episode 1
  Easy, Season 1, Episode
                            Netflix Studios, LLC             PA2-009-863               9/26/2016
  1
  Bosch, Season 1,          Amazon Content Services
                                                             PA2-000-165               2/10/2016
  Episode 1                 LLC
  The Man in the High
                            Amazon Content Services
  Castle, Season 1,                                          PA2-006-699               1/15/2015
                            LLC
  Episode 1
  Transparent, Season 1,    Amazon Content Services
                                                             PA1-930-949               12/3/2014
  Episode 1                 LLC
  Mozart in the Jungle,     Amazon Content Services
                                                             PA1-963-304               3/23/2015
  Season 1, Episode 1       LLC
  Bosch, Season 1,          Amazon Content Services
                                                             PA2-000-165               2/10/2016
  Episode 1                 LLC
                            Columbia Pictures Industries,
  The Shallows                                               PA1-993-394               7/13/2016
                            Inc.
                            Columbia Pictures Industries,
  Miracles from Heaven                                       PA1-981-803                4/7/2016
                            Inc.
  Spiderman:                Columbia Pictures Industries,
                                                             PA2-044-059                7/7/2017
  Homecoming                Inc.
                            Columbia Pictures Industries,
  Rough Night                                                PA2-041-774               6/30/2017
                            Inc.
  Smurfs: The Lost          Columbia Pictures Industries,
                                                             PA 2-029-508              4/21/2017
  Village                   Inc.
  Pete’s Dragon             Disney Enterprises, Inc.         PA1-998-053               8/26/2016

  The Finest Hours          Disney Enterprises, Inc.         PA1-989-069               5/27/2016


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                                                           Registration
  Title                       Copyright Registrants                       Registration Date
                                                           Number
  Maleficent                  Disney Enterprises, Inc.     PA1-899-203            6/10/2014
  Alice Through the
                              Disney Enterprises, Inc.     PA1-991-651            6/28/2016
  Looking Glass
  Into the Woods              Disney Enterprises, Inc.     PA1-932-175            2/11/2015

  Paranormal Activity:        Paramount Pictures
                                                           PA1-960-100           10/23/2015
  The Ghost Dimension         Corporation
                              Paramount Pictures
  Zoolander 2                                              PA1-974-008            2/16/2016
                              Corporation
  13 Hours: The Secret        Paramount Pictures
                                                           PA1-969-757            1/19/2016
  Soldiers of Benghazi        Corporation
                              Paramount Pictures
  Whiskey Tango Foxtrot                                    PA1-977-149             3/4/2016
                              Corporation
                              Twentieth Century Fox Film
  Independence Day:
                              Corporation; TSG             PA1-994-450            7/22/2016
  Resurgence
                              Entertainment Finance LLC
                              Twentieth Century Fox Film
  Deadpool                    Corporation; TSG             PA1-977-152             3/4/2016
                              Entertainment Finance LLC
  Ice Age, Collision          Twentieth Century Fox Film
                                                           PA1-995-002            7/27/2016
  Course                      Corporation
                              Twentieth Century Fox Film
  Ice Age: The Meltdown                                    PA1-306-625            3/31/2006
                              Corporation
                              Twentieth Century Fox Film
  War for the Planet of the
                              Corporation; TSG             PA2-044-947            7/25/2017
  Apes
                              Entertainment Finance LLC
  The Purge: Election         Universal City Studios
                                                           PA1-995-003            7/11/2016
  Year                        Productions LLLP
                              Universal City Studios
  Despicable Me 3                                          PA2-043-544            6/27/2017
                              Productions LLLP
                              Universal City Studios
  The Boss                                                 PA1-993-610             4/7/2016
                              Productions LLLP
                              Universal City Studios
  Jurassic World              Productions LLLP; Amblin     PA1-946-359            6/10/2015
                              Entertainment LLC
                              Warner Bros. Entertainment
  Wonder Woman                Inc.; Ratpac-Dune            PA2-036-078             6/6/2017
                              Entertainment LLC
                                                                                   Exh A
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                                                        Registration
  Title                    Copyright Registrants                       Registration Date
                                                        Number
                           Warner Bros. Entertainment
  Batman v. Superman:
                           Inc.; Ratpac-Dune            PA1-981-624            3/30/2016
  Dawn of Justice
                           Entertainment LLC
                           Warner Bros. Entertainment
  Dunkirk                  Inc.; Ratpac-Dune            PA2-044-585            7/20/2017
                           Entertainment LLC
  Harry Potter and the     Warner Bros. Entertainment
                                                        PA1-721-904             3/4/2011
  Deathly Hallows Part 1   Inc.
                           Warner Bros. Entertainment
  Suicide Squad            Inc.; Ratpac-Dune            PA1-995-698             8/4/2016
                           Entertainment LLC




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